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Defendant: JEREMIE SHENEMAN                                                                       Page 1 of 8
Case Number: 3:10cr120-001 and 3:10cr126-002


                                       UNITED STATES DISTRICT COURT
                                       NORTHERN DISTRICT OF INDIANA

UNITED STATES OF AMERICA
                 Plaintiff                                Case Numbers 3:10cr120-001 and
                                                                       3:10cr126-002

                                                          USM Number 78499-053
JEREMIE SHENEMAN
               Defendant
                                                          CLARK W HOLESINGER
                                                          Defendant’s Attorney
___________________________________

                                        JUDGMENT IN A CRIMINAL CASE

THE DEFENDANT was found guilty by jury on 3/30/2011 on counts 1, 2, and 3 of the Indictment
in 3:10cr120, and found guilty by jury on 5/5/2011 on counts 1, 2, 3, and 4 of the Indictment in
3:10cr126.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                              Date Offense                 Count
             Title, Section & Nature of Offense                  Ended                   Number(s)


 18:1343 WIRE FRAUD                                        November 10, 2005             1-3 in Case
                                                                                    3:10cr120 and 1-4 in
                                                                                       Case 3:10cr126

The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984.

IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant must notify the court and United States Attorney of any material change in economic
circumstances.
                                                   August 1, 2012
                                                   Date of Imposition of Judgment

                                                   s/ Jon E. DeGuilio
                                                   Signature of Judge

                                                   Jon E. DeGuilio, United States District Judge
                                                   Name and Title of Judge

                                                   August 3, 2012
                                                   Date
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                                               IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons
to be imprisoned for a term of 120 months on each of counts 1, 2 and 3 in case 3:10cr120, and
120 months on each of counts 1, 2, 3, and 4 in case 3:10cr126, all sentences to be served
concurrently. The total term of imprisonment is 120 months.

         The Court makes the following recommendations to the Bureau of Prisons: That the Bureau
of Prisons designate as the place of the defendant's confinement, if such placement is consistent
with the defendant's security classification as determined by the Bureau of Prisons, a facility where
he may receive a mental health evaluation and counseling; and that the defendant be placed in a
facility as close as possible to his family in South Bend, Indiana.


          The defendant is remanded to the custody of the United States Marshal.



                                                 RETURN

I have executed this judgment as follows:

          Defendant delivered                             to                        at
          , with a certified copy of this judgment.



                                                                      UNITED STATES MARSHAL


                                                          By:
                                                             DEPUTY UNITED STATES MARSHAL
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                                               SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of 3
years on each of counts 1, 2 and 3 in case 3:10cr120, and 3 years on each of counts 1, 2, 3,
and 4 in case 3:10cr126, which are all to be served concurrently. The total term of
supervised release is 3 years.

The defendant shall report in person to the probation office in the district to which the defendant is
released within 72 hours of release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain
from any unlawful use of a controlled substance.

The defendant shall submit to one drug test within 15 days of release from imprisonment and two
(2) periodic drug tests thereafter, as determined by the Court.

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
weapon.

The defendant shall cooperate in the collection of DNA as directed by the probation officer.
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                              STANDARD CONDITIONS OF SUPERVISION

1.        The defendant shall not leave the judicial district without the permission of the Court or
          probation officer.
2.        The defendant shall report to the probation officer in the manner and as frequently as
          directed by the Court or probation officer.
3.        The defendant shall answer truthfully all inquiries by the probation officer and follow the
          instructions of the probation officer.
4.        The defendant shall support his dependents and meet other family responsibilities.
5.        The defendant shall work regularly at a lawful occupation unless excused by the probation
          officer for schooling, training, or other acceptable reasons.
6.        The defendant shall notify the probation officer within ten (10) days of any change in
          residence or employment.
7.        The defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
          use, distribute, or administer any narcotic or other controlled substance, or any
          paraphernalia related to such substances, except as prescribed by a physician.
8.        The defendant shall not frequent places where controlled substances are illegally sold,
          used, distributed, or administered.
9.        The defendant shall not associate with any persons engaged in criminal activity, and shall
          not associate with any person convicted of a felony unless granted permission to do so by
          the probation officer.
10.       The defendant shall permit a probation officer to visit him or her at any time at home or
          elsewhere and shall permit confiscation of any contraband observed in plain view by the
          probation officer.
11.       The defendant shall notify the probation officer within seventy-two (72) hours of being
          arrested or questioned by a law enforcement officer.
12.       The defendant shall not enter into any agreement to act as an informer or a special agent
          of a law enforcement agency without the permission of the Court.
13.       As directed by the probation officer, the defendant shall notify third parties of risks that may
          be occasioned by the defendant’s criminal record or personal history or characteristics, and
          shall permit the probation officer to make such notifications and to confirm the defendant’s
          compliance with such notification requirement.
14.       The defendant shall pay the special assessment imposed or adhere to a court-ordered
          installment schedule for the payment of the special assessment.
15.       The defendant shall notify the probation officer of any material change in the defendant’s
          economic circumstances that might affect the defendant’s ability to pay any unpaid amount
          of restitution, fines, or special assessments.
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                                SPECIAL CONDITIONS OF SUPERVISION

The defendant shall pay any financial penalty that is imposed by this judgment, and that remains
unpaid at the commencement of the term of supervised release.

The defendant shall provide the probation officer with access to any requested financial information.

The defendant shall not incur new credit charges or open additional lines of credit without the
approval of the probation officer unless the defendant is in compliance with the installment payment
schedule.

The defendant shall participate in a mental health treatment program and shall abide by all program
requirements and restrictions. The defendant shall pay all or part of the costs for participation in
the program not to exceed the sliding fee scale as established by the Department of Health and
Human Services and adopted by this Court.

If this judgment imposes a fine or restitution, it is a condition of supervised release that the
defendant pay in accordance with the Schedule of Payments sheet of this judgment.
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                                     CRIMINAL MONETARY PENALTIES

       The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in this judgment.
        Total Assessment                          Total Fine                      Total Restitution
                $700.00                             NONE                             $269,967.50

       The total assessment of $700.00 consists of $100.00 on each of the three counts in case
3:10cr120 and $100.00 on each of the four counts in case 3:10cr126. The defendant shall make
the special assessment payment payable to Clerk, U.S. District Court, 102 Robert A. Grant
Courthouse, 204 South Main Street, South Bend, IN 46601. The special assessment payment shall
be due immediately.

                                                    FINE

          No fine imposed.

                                               RESTITUTION

          Restitution in the amount of $269,967.50 is hereby imposed in case 3:10cr126.

        The defendant shall make restitution payments (including community restitution, if
applicable) payable to Clerk, U.S. District Court, 102 Robert A. Grant Courthouse, 204 South Main
Street, South Bend, IN 46601, for the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                            Priority Order
                                               **Total Amount        Amount of              or Percentage
               Name of Payee                       of Loss       Restitution Ordered         of Payment

 Countrywide Home Loans, Inc.                                         $26,750.00

 HSBC Bank USA                                                        $16,750.00

 JP Morgan Chase Bank                                                 $25,037.50

 LaSalle Bank National Association                                    $95,725.00

 U.S. Bank N.A.                                                       $81,600.00

 Wells Fargo Bank Minnesota, N.A.                                     $24,105.00

  Totals                                                                $269,967.50
If at any time this defendant’s restitution payments combine with restitution made on these claims by any other
person to amount to an aggregate sum of $269,967.50, this Defendant shall have no further obligation to make
restitution under this order.

          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of
Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April 23, 1996.
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                                           SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties
are due as follows:


A      Lump sum payment of $269,967.50 due immediately, balance due, in accordance with B,
below;

B     Payment in equal monthly installments of not less than $ 100.00, to commence 60 days after
placement on supervision;


The defendant may also make payments for his financial obligations imposed herein from any
wages he may earn in prison in accordance with the Bureau of Prisons Financial Responsibility
Program, although participation in that program is voluntary. The defendant should note that failure
to participate in the Financial Responsibility Program while incarcerated may result in the denial of
certain privileges to which he might otherwise be entitled while imprisoned, and that the Bureau of
Prisons has the discretion to make such a determination. Any portion of the defendant’s financial
obligations not paid in full at the time of the defendant’s release from imprisonment shall become
a condition of supervision.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3)
restitution interest, (4) fine principal, (5) fine interest, (6) community restitution, (7) penalties, and
(8) costs, including cost of prosecution and court costs.
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                                                             Name:      JEREMIE SHENEMAN

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                          ACKNOWLEDGMENT OF SUPERVISION CONDITIONS


        Upon a finding of a violation of probation or supervised release, I understand that the
Court may (1) revoke supervision, (2) extend the term of supervision, and/or (3) modify the
conditions of supervision.

        I have reviewed the Judgment and Commitment Order in my case and the supervision
conditions therein. These conditions have been read to me. I fully understand the conditions
and have been provided a copy of them.


          (Signed)
                 ____________________________________                __________________
                   Defendant                                                Date


                    ____________________________________             __________________
                     U.S. Probation Officer/Designated Witness              Date
